Case 4:21-cr-00126-SDJ-KPJ Document 36 Filed 05/27/21 Page 1 of 2 PageID #: 132



         DATE:           5/27/2021                                   CASE NUMBER 4:21-CR-00126-3
     LOCATION:           Sherman
        JUDGE:           Christine Nowak                             USA v. Kennia Emperatriz Goodman-
    DEP. CLERK:          K. Lee
     RPTR/ECRO:          Digital Recording                           Largaespada
          USPO:         M PtEN / N-
  INTERPRETER:          M/A                                            BfC vt A l C i
     BEGIN/END:                            1-4-4- . fl*.
                                                                     AUSA
                          'S lC ./ 101(0 Q.wx
                                                                                    Q S o-
                                                                     Defense Atto ey

S/ NITIAL APPEARANCE
S ARRAIGNMENT

      Defendant Sworn               Interpreter Required

      Dft appears: with counsel © without counsel pro se Counsel appears on behalf of defendant

      Date of arrest 5/26/21                      (Other district court & case #)

      Defendant 0 advised of charges, penalties, and rights

      Dft first appearance with counsel CJA appointed Retained Hr ederal Public Defender appointed
      Attorney:

      Defendant advises the Court that they                have counsel who is or,          will hire counsel.

      Defendant requests appointed counsel, is sworn and examined re: financial status.


      Financial affidavit executed by defendant.
      The court finds the defendant is able to employ counsel ©finable to employ counsel.

                                   appointed EU.S. Pub Defender 0 appointed
     P- f O d t o CO v<tv» be Oi+ o(~
      If defendant cannot retain counsel, the Court is to be advised within days so counsel may be appointed.

      Govt motion for detention Govt oral motion for continuance       Oral Order granting Oral Order denying


      Defendant oral motion to continue detention hearing              Oral Order grantin    Oral Order denying


      Arraignment set

0Z Detention Hrg set G/l/U                                          S Temp Detention Order Pending Hearing

      Ordering setting conditions of release Bond executed

      Defendant signed Waiver of Detention Hearing.

      Defendant remanded to custody of United States Marshal
Case 4:21-cr-00126-SDJ-KPJ Document 36 Filed 05/27/21 Page 2 of 2 PageID #: 133



      Defendant motion

      Govern ent motion




                                              ARRAIGNMENT

      Arraignment held

      Dt appears with counsel

      Dft      A sworn
               S received copy of charges                                 with counsel               charges read
               S' waived reading of charges

      Dft enters a plea of M not guilty
      To of "k x-C- I                               cL

      Pretrial Discovery and Inspection Order entered. Case set for final pretrial conferences/jury selection and
      trial setting on:                                       Pretrial Date:
              S-f ov A<




      Df remanded to custody USM Dft RELEASED on conditions of release after out-processing by USM

                                              Recess
